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        In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                            No. 14-630V
                                        Filed: April 30, 2015
                                            Unpublished

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GERALD BINKLEY,                       *
                                      *
                   Petitioner,        *       Stipulation on Damages;
                                      *       Tetanus-Diphtheria-acellular Pertussis
                                      *       (“Tdap”) Vaccine; Shoulder Injury;
SECRETARY OF HEALTH                   *      Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                   *
                                      *
                   Respondent.        *
                                      *
****************************
Mark T. Sadaka, Esq., Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Claudia B. Gangi, Esq., US Department of Justice, Washington, DC, for respondent.

                    DECISION ON STIPULATION AWARDING DAMAGES1

Vowell, Chief Special Master:

       On July 21, 2014, Gerald Binkley filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq,2 [the
“Vaccine Act” or “Program”]. Petitioner alleges that he suffered a shoulder injury that
was caused-in-fact by his tetanus-diphtheria-acellular pertussis [“Tdap”] vaccination
administered on January 11, 2013. Stipulation, filed April 30, 2015, ¶¶ 2, 4. Petitioner
further alleges that he experienced the residual effects of his injury for more than six
months, has filed no other action for this injury, and has received no prior award or
settlement. Stipulation, ¶¶ 4-5. Respondent denies that petitioner’s Tdap vaccine
caused petitioner’s shoulder injury, any other injury, or his current disabilities.
Stipulation, ¶ 6.



1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I will post
it on the United States Court of Federal Claims' website, in accordance with the E-Government Act of
2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note
(2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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       Nevertheless, the parties have agreed to settle the case. Stipulation, ¶ 7. On
April 30, 2015, the parties filed a stipulation agreeing to settle this case and describing
the settlement terms.

        Respondent agrees to pay petitioner:

         A lump sum of $85,000.00 in the form of a check payable to petitioner.
        Stipulation, ¶ 8. This amount represents compensation for all damages
        that would be available under 42 U.S.C. § 300aa-15(a). Id.

      I adopt the parties’ stipulation attached hereto, and award compensation in the
amount and on the terms set forth therein. In the absence of a motion for review filed
pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment in
accordance with this decision.3

                                        s/Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each filing a notice renouncing
the right to seek review by a United States Court of Federal Claims judge.
                                                     2
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